                        IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE

KAREN HARRIS,                                         )
                                                      )
         Plaintiff,                                   )
                                                      )
v.                                                    )              No. ________________
                                                      )
AMERICAN GENERAL LIFE INSURANCE                       )
COMPANIES, LLC, and AMERICAN                          )
INTERNATIONAL GROUP, INC.                             )
                                                      )
         Defendants.                                  )



                                    NOTICE OF REMOVAL


         Pursuant to 28 U.S.C. §§ 1441(a) & 1446, et seq., defendants, American General Life

Insurance Companies, Inc. ("AGLIC"), incorrectly named in the Complaint as American General

Life Insurance Companies, LLC, and American International Group, Inc. ("AIG") (collectively,

"Defendants"), file this Notice of Removal of this action from State Court to this Court and

respectfully state as follows:

         1.     On July 6, 2011, plaintiff, Karen Harris ("Plaintiff") commenced a civil action in

the Chancery Court of Knox County, Tennessee (“the State Court”), bearing the style Karen

Harris v. American General Life Insurance Companies, LLC, and American International Group,

Inc., Docket No. 180788-1 (“the Civil Action”). The Civil Action is still pending in the State

Court.

         2.     Defendants have not yet been served with a copy of the Summons and Complaint

in the Civil Action but have received a courtesy copy of the Complaint, a copy of which is

attached as Exhibit A, which constitutes all process, pleadings, and orders received by

Defendants in the Civil Action to date.
                                          1
K SLP 276788 v1
Case    3:11-cv-00346-DLB-HBG
2918443-000004  07/21/2011           Document 1 Filed 07/21/11 Page 1 of 4 PageID #: 1
           3.    Defendants have, to date, made no appearance in the Civil Action in State Court.

           4.    The Civil Action is one of which this Court has diversity of citizenship

jurisdiction pursuant to 28 U.S.C. § 1332 and removal jurisdiction pursuant to 28 U.S.C. § 1441

in that:

           (a)   AGLIC, both at the time of filing of the Civil Action and as of the date of filing of
                 this Notice, was and is a corporate citizen of the State of Texas in that it is and
                 was incorporated in the State of Texas, with its principal place of business in
                 Texas.

           (b)   AIG, both at the time of filing of the Civil Action and as of the date of filing of
                 this Notice, was and is a corporate citizen of the States of Delaware and New
                 York in that it is and was incorporated in the State of Delaware, with its principal
                 place of business in New York.

           (c)   Plaintiff, both at the time of filing of the Civil Action and as of the date of filing
                 this Notice, was and is a citizen of the State of Tennessee.

           (d)   Diversity of citizenship exists between all parties properly joined in that they are
                 citizens of different states and the amount in controversy exceeds $75,000,
                 exclusive of interest and costs.

           (e)   This action is within the original jurisdiction of the Court pursuant to the
                 provisions of 28 U.S.C. § 1332.

           5.    Defendants have filed this Notice prior to the expiration of thirty (30) days

following its receipt of a copy of the Complaint.

           6.    Defendants will give written notice to plaintiff and will file a Notice of Filing of

Notice of Removal with the Clerk of the Chancery Court of Knox County, Tennessee.

Defendants attach a copy of the Notice of Filing of Notice of Removal as Exhibit B.

           7.    The judicial district and division of the Court embraces Knox County, Tennessee,

the place where the Civil Action is pending.

           WHEREFORE, Defendants, American General Life Insurance Companies, Inc., and

American International Group, Inc. pray that the Civil Action now pending against them in the

Chancery Court of Knox County, Tennessee, be removed therefrom to this Court.


                                            2
K SLP 276788 v1
Case    3:11-cv-00346-DLB-HBG
2918443-000004  07/21/2011             Document 1 Filed 07/21/11 Page 2 of 4 PageID #: 2
                                            Respectfully submitted,

                                            /s/ S. Russell Headrick_____
                                            S. Russell Headrick, TN BPR No. 5750
                                            V. Austin Shaver, TN BPR No. 26581
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                                            Attorneys for Defendants American General
                                            Life Insurance Companies, Inc., and
                                            American International Group, Inc.




                                     3
K SLP 276788 v1
Case    3:11-cv-00346-DLB-HBG
2918443-000004  07/21/2011      Document 1 Filed 07/21/11 Page 3 of 4 PageID #: 3
                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and exact copy of the foregoing Notice of
Removal has been filed electronically and has been served upon the following parties in interest
herein by delivering same to the offices of said parties in interest, or by mailing same to the
offices of said parties in interest by United States Mail with sufficient postage thereon to carry
the same to its destination.

               James D. Busch
               Bill Hotz & Associates
               6004 Walden Drive
               Knoxville, TN 37919

               Howard G. Hogan
               Clerk & Master
               Knox County Chancery Court
               City-County Building
               400 Main Street
               Knoxville, Tennessee 37902

       This 21st day of July, 2011.

                                                    s/ S. Russell Headrick
                                                    Attorney




                                           4
K SLP 276788 v1
Case    3:11-cv-00346-DLB-HBG
2918443-000004  07/21/2011            Document 1 Filed 07/21/11 Page 4 of 4 PageID #: 4
